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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

KIMBERLY ADAMS AND JESSE                        :
ADAMS, on behalf of themselves                  :
and all others similarly situated,              :      Case No.: 1:14-cv-656
                                                :
                      Plaintiffs,               :      Judge:
                                                :
       v.                                       :      CLASS ACTION COMPLAINT
                                                :
EAGLE FINANCIAL SERVICES, INC.,                 :
D/B/A EAGLE LOAN COMPANY OF                     :      JURY TRIAL DEMANDED
OHIO, INC.                                      :
                                                :
c/o John Farrell                                :
    5413 Dixie Highway                          :
    Fairfield, OH 45014                         :
                                                :
                      Defendant.                :

       Plaintiffs Kimberly and Jesse Adams bring this action individually and on behalf of all

others similarly situated against Eagle Financial Services, Inc., d/b/a Eagle Loan Company of

Ohio, Inc. (“Eagle Loan” or “Defendant”) for routinely making loans that violate the Ohio

Mortgage Loan Act (Ohio Revised Code § 1321.51 et seq.). Because Defendant regularly

charges and collects interest in excess of the rate permitted by Ohio law when making these

loans, Defendant’s loans violate the Ohio Mortgage Loan Act.

       Plaintiffs make the following allegations upon information and belief, except as to

allegations specifically pertaining to themselves, which are based on personal knowledge. Each

allegation in this Complaint either has evidentiary support or, alternatively, pursuant to Rule

11(b)(3) of the Federal Rules of Civil Procedure, is likely to have evidentiary support after a

reasonable opportunity for further investigation or discovery.
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                                  NATURE OF THE ACTION

       1.      Plaintiffs bring this putative class action on behalf of themselves and all persons

who entered into a loan transaction with Eagle Loan at an Ohio store location during the largest

period allowed by law (“Relevant Time Period”).

                                            PARTIES

       2.       Plaintiffs Kimberly and Jesse Adams are Ohio citizens residing in Clermont

County.

       3.      Defendant Eagle Financial Services, Inc., d/b/a Eagle Loan Company of Ohio,

Inc., is a Kentucky Corporation with its principal place of business in Kentucky.

                                JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1), and

28 U.S.C. § 1332(d)(2)(A) because this case is a class action where the aggregate claims of all

members of the proposed class are in excess of $5,000,000.00, exclusive of interest and costs,

and most members of the proposed class are citizens of states different from the state of the

Defendant.

       5.      The Court has personal jurisdiction over Eagle Loan because Eagle Loan

conducts significant, continuous, regular, and systematic business in this District.

       6.      Venue is proper in this Court under 28 U.S.C. § 1391(b) because Eagle Loan

transacts significant business throughout this District and a substantial part of the events or

omissions giving rise to Plaintiffs’ claims occurred in this District. Venue is also proper under

28 U.S.C. § 1391(c) because Eagle Loan is subject to personal jurisdiction in this District.




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                                  FACTUAL ALLEGATIONS

       7.        On July 19, 2012, Kimberly Adams obtained a loan from Defendant for

$2,181.95. Although Eagle Loan claimed to be making the loan pursuant to the Ohio Mortgage

Loan Act, Eagle Loan’s standard Ohio loan contract provided that the interest rate for Ms.

Adams’ loan was 25%. A copy of the loan contract from Ms. Adams’ transaction is attached as

Exhibit A.

       8.        On March 12, 2012, Jesse Adams obtained a loan from Defendant for $2,551.66.

Although Eagle Loan claimed to be making the loan pursuant to the Ohio Mortgage Loan Act,

Eagle Loan’s standard Ohio loan contract provided that the interest rate for Mr. Adams’ loan was

25%. A copy of the loan contract from Mr. Adams’ transaction is attached as Exhibit B.

       9.        Both of the loans made by Eagle Loan to the Plaintiffs pursuant to its standard

Ohio loan contract contain terms that violate Ohio’s Mortgage Loan Act, including that the loan

exceeded the maximum interest rate (21%) available under Ohio Revised Code § 1321.57(A).

Both Plaintiffs made payments to Eagle Loan at the 25% interest rate in Eagle Loan’s standard

Ohio loan contract.

       10.       Eagle Loan’s violation of Ohio Revised Code § 1321.57 was and is willful

because Eagle Loan knowingly and intentionally drafted its standard Ohio loan contract to

contain a 25% interest rate.

       11.       Pursuant to Ohio Revised Code § 1321.56, “Any person who willfully violates

section 1321.57 of the Revised Code shall forfeit to the borrower the amount of interest paid by

the borrower.”

       12.       In the alternative, should this Court find that Eagle Loan’s violation of Ohio

Revised Code §1321.57 was not willful, Ohio Revised Code § 1321.56 provides that “the




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maximum rate of interest applicable to any loan transaction that does not comply with section

1321.57 of the Revised Code shall be the rate that would be applicable in the absence of sections

1321.51 to 1321.60 of the Revised Code.”

           13.       Therefore, should this Court find that Eagle Loan’s violation of Ohio Revised

Code §1321.57 was not willful, Eagle Loan was limited to the default 8% interest rate permitted

by Ohio’s general usury law, Ohio Revised Code §1343.01.

           14.       Upon information and belief, Eagle Loan has made, and continues to make,

similar if not identical loans to thousands of Ohio consumers. For all of the reasons stated

above, each of Eagle Loan’s loan transactions that violate Ohio Revised Code § 1321.57 are

criminal acts pursuant to Ohio Revised Code § 1321.99(D), rendering Eagle Loan’s standard

Ohio contract illegal under Ohio law.

                                       CLASS ACTION ALLEGATIONS

           15.       Plaintiffs seek to represent a class defined as all persons who, during the Relevant

Time Period, entered into a loan transaction with Eagle Loan at an Ohio store location that

included an interest rate of 25% (the “Class”).1 Excluded from the Class are (1) Eagle Loan, any

entity in which Eagle Loan has a controlling interest, and its legal representatives, officers,

directors, employees, assigns, and successors; (2) the Judge to whom this case is assigned and

any member of the Judge’s staff or immediate family; and (3) Class Counsel.

           16.       Members of the Class are so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in the thousands. The

precise number of Class members and their identities are unknown to Plaintiffs at this time but

will be determined through discovery. Class members may be notified of the pendency of this

action by mail, email, and/or publication through the business records maintained by Eagle Loan.
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    Plaintiffs reserve the right to amend the Class definition as appropriate.


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       17.     Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual members. These common legal and factual questions

include, but are not limited to:

               a.      whether Plaintiffs and the Class are entitled to a Declaratory Judgment

                       that Eagle Loan is violating Ohio Revised Code §§ 1321.56 and 1321.57

                       by making and collecting upon loans that include an interest rate of 25%;

               b.      whether Eagle Loan willfully violated and continues to willfully violate

                       Ohio Revised Code § 1321.57; and

               c.      whether Eagle Loan violated and continues to violate Ohio Revised Code

                       § 1343.01 by making loans with an interest rate greater than 8%.

       18.     Plaintiffs’ claims are typical of the claims of Class members and do not conflict

with the interests of any other member of the Class in that they and the other members of the

Class were subject to the same unlawful conduct.

       19.     Plaintiffs will fairly and adequately represent the interests of the Class. They are

committed to the vigorous prosecution of the Class’ claims and have retained attorneys who are

qualified to pursue this litigation and have experience in class actions – in particular, consumer

protection actions.

       20.     The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Plaintiffs and Class members. A class action regarding the issues in

this case does not create any problems of manageability.         Each individual Class member

generally lacks the resources to undergo the burden and expense of individual prosecution. Also,

individualized litigation increases the delay and expense to all parties, multiplies the burden on

the judicial system, and presents a potential for inconsistent or contradictory judgments. In




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contrast, the class action device streamlines this process and presents the only mechanism for the

vindication of each Class member’s rights.       Absent a class action, Eagle Loan would be

effectively immune from being held accountable for its deceptive practices described above.

       21.     Further, Eagle Loan has acted or refused to act on grounds that apply generally to

the Class so that final injunctive relief or corresponding declaratory relief is appropriate

respecting the Class as a whole.

                                           COUNT I

                   Declaratory Relief under the Declaratory Judgment Act
                                  (28 U.S.C. § 2201, et seq.)

       22.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

       23.     Plaintiffs bring this claim for relief on behalf of themselves and the members of

the Class. An actual controversy has arisen and now exists between Plaintiffs and the members

of the Class, on the one hand, and Eagle Loan, on the other hand, concerning their respective

rights and duties in that Plaintiffs and the members of the Class contend that Eagle Loan is not

permitted to make loans pursuant to Ohio Revised Code §§ 1321.56 and 1321.57 that include an

interest rate greater than 21%, while Eagle Loan contends that its actions and conduct are lawful

and proper.

       24.     A judicial declaration is necessary and appropriate at this time, under the

circumstances presented, in order that Plaintiffs, the members of the Class, and Eagle Loan may

ascertain their respective rights and duties with respect to Eagle Loan’s obligations under Ohio

law.

                                           COUNT II

          Violation of the Ohio Mortgage Loan Act (Ohio Revised Code § 1321.57)



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        25.      Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

        26.      Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class.

        27.      Eagle Loan willfully made loans purportedly pursuant to the Ohio Mortgage Loan

Act that violated Ohio Revised Code § 1321.57 because the loans contained an interest rate

higher than that permitted by Ohio Revised Code § 1321.57(A).

        28.      Eagle Loan’s violation of Ohio Revised Code § 1321.57 is and was willful

because Eagle Loan knowingly and intentionally drafted its standard contract to contain a 25%

interest rate.

        29.      Pursuant to Ohio Revised Code § 1321.56, “Any person who willfully violates

section 1321.57 of the Revised Code shall forfeit to the borrower the amount of interest paid by

the borrower.”

        30.      Because Eagle Loan willfully made loans to Plaintiffs and the Class that did not

comply with Ohio Revised Code § 1321.57, Eagle Loan must forfeit all interest it has been paid

by Plaintiffs and the Class.

                                           COUNT III

           Violation of the Ohio General Usury Act (Ohio Revised Code § 1343.01)

        31.      Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

        32.      Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class.




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       33.     The loans Eagle Loan made to Plaintiffs and the Class do not comply with Ohio

Revised Code § 1321.57 because the loans contain an interest rate of 25% and Ohio Revised

Code § 1321.57(A) permits a maximum interest rate of only 21%.

       34.     Because the loans Eagle Loan made to Plaintiffs and the Class do not comply with

Ohio Revised Code § 1321.57, Ohio Revised Code § 1321.56 provides that “the maximum rate

of interest applicable to any loan transaction that does not comply with section 1321.57 of the

Revised Code shall be the rate that would be applicable in the absence of sections

1321.51 to 1321.60 of the Revised Code.”

       35.     In the absence of sections 1321.51 to 1321.60 of the Ohio Revised Code, Eagle

Loan was limited to an interest rate of eight percent per annum pursuant to Ohio Revised Code §

1343.01(A).

       36.     By charging Plaintiffs and the Class an interest rate greater than eight percent per

annum, Eagle Loan is in violation of Ohio Revised Code § 1343.01(A).

       37.     Therefore, Plaintiffs and the Class have been damaged and are entitled to relief,

including reasonable attorney fees, court costs, and punitive damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and on behalf of the members of the

proposed Class, pray: (a) for an order certifying the proposed Class and appointing Plaintiffs and

their undersigned counsel of record to represent the proposed Class; (b) for a judgment declaring

the acts and practices complained of herein to constitute a violation of the Ohio Mortgage Loan

Act and the Ohio General Usury Act; (c) for an award of actual damages for Plaintiffs and

members of the Class; (d) for costs of suit herein; (e) for both pre- and post-judgment interest on




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any amounts awarded; (f) for payment of reasonable attorneys’ fees; (g) for punitive damages;

and (h) for such other and further relief as the Court may deem proper.



                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury for all issues so triable.

                                               Respectfully submitted,

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